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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                      CHARLOTTESVILLE DIVISION


  WILD VIRGINIA,                                      )
  VIRGINIA WILDERNESS COMMITTEE,                      )
  UPSTATE FOREVER,                                    )
  SOUTH CAROLINA WILDLIFE FEDERATION,                 )
  NORTH CAROLINA WILDLIFE FEDERATION,                 )
  NATIONAL TRUST FOR HISTORIC                         )
    PRESERVATION,                                     )
  MOUNTAINTRUE,                                       )
  HAW RIVER ASSEMBLY,                                 )
  HIGHLANDERS FOR RESPONSIBLE                         )
    DEVELOPMENT,                                      )
  DEFENDERS OF WILDLIFE,                              )
  COWPASTURE RIVER PRESERVATION                       )
    ASSOCIATION,                                      )
  CONGAREE RIVERKEEPER,                               )
  THE CLINCH COALITION,                               )
  CLEAN AIR CAROLINA,                                 )
  CAPE FEAR RIVER WATCH,                              )
  ALLIANCE FOR THE SHENANDOAH                         )
    VALLEY, and                                       )
  ALABAMA RIVERS ALLIANCE,                            )
                                                      )
                         Plaintiffs,                  )
                                                      )
  v.                                                  )       Case No.
                                                      )     3:20CV00045
                                                      )
  COUNCIL ON ENVIRONMENTAL QUALITY,                   )
  and                                                 )
  BRENDA MALLORY IN HER OFFICIAL                      )
    CAPACITY AS CHAIR OF THE                          )
    COUNCIL ON ENVIRONMENTAL                          )
    QUALITY,                                          )
                                                      )
                         Defendants,                  )
  and                                                 )
                                                      )
  AMERICAN FARM BUREAU FEDERATION,                    )
  AMERICAN FOREST RESOURCE COUNCIL,                   )
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  AMERICAN FUEL & PETROCHEMICAL                           )
    MANUFACTURERS,                                        )
  AMERICAN PETROLEUM INSTITUTE,                           )
  AMERICAN ROAD & TRANSPORTATION                          )
    BUILDERS ASSOCIATION,                                 )
  CHAMBER OF COMMERCE OF THE UNITED                       )
    STATES OF AMERICA,                                    )
  FEDERAL FOREST RESOURCE COALITION,                      )
  INTERSTATE NATURAL GAS ASSOCIATION                      )
    OF AMERICA, and                                       )
  NATIONAL CATTLEMEN’S BEEF                               )
    ASSOCIATION,                                          )
                                                          )
                           Defendants-Intervenors.        )


                                   FINAL ORDER

        For the reasons stated in the accompanying Opinion, the case is hereby

  DISMISSED WITHOUT PREJUDICE.

        The following motions are TERMINATED AS MOOT:

        1. Plaintiffs’ Motion for Summary Judgment, ECF No. 105;

        2. Motions for Summary Judgment              of Defendant-Intervenors and

           Defendants, ECF Nos. 128 and 129; and

        3. Defendants’ Motion for Remand Without Vacatur, ECF No. 145.

  It is so ORDERED.

        The Clerk shall close the case.


                                             ENTER: June 21, 2021

                                             /s/ JAMES P. JONES
                                             United States District Judge
